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     ELTON PADILLA
6

7                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,              )   Case No.: 2:19 CR 103 JAM
                                            )
10                       Plaintiff,         )   STIPULATION REGARDING EXCLUDABLE TIME
                                            )   PERIODS UNDER SPEEDY TRIAL
11   vs.                                    )   ACT;FINDINGS AND ORDER
                                            )
12   GARCIA et al.,                         )   Date:    September 24, 2019
                                            )   Time:    9:15 a.m.
13                       Defendants.        )   Judge:   Honorable John A. Mendez
                                            )
14

15         The United States of America through its undersigned counsel, Vincenza

16   Rabenn, Assistant United States Attorney, together with counsel for defendant

17   Manuel Reyes, Philip Cozens, Esq., and counsel for defendant Elton Padilla,

18   John R. Manning, Esq., hereby stipulate the following:

19         1.   By previous order, this matter was set for status conference on

20   September August 6, 2019.

21         2.   By this stipulation, the defendants now move to continue the status

22   conference until September 24, 2019 and to exclude time between August 6,

23   2019 and September 24, 2019 under Local Code T-4 (to allow defense counsel

24   time to prepare).

25         3.   The parties agree and stipulate, and request the Court find the

26   following:

27              a.       Currently the United States has provided 295 pages of

28                       discovery as well as 14 discs of audio/video.



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1               b.      Counsel for the defendants need additional time to review

2                       the discovery, conduct investigation, and interview

3                       potential witnesses.

4               c.      Counsel for the defendants believe the failure to grant a

5                       continuance in this case would deny defense counsel

6                       reasonable time necessary for effective preparation, taking

7                       into account the exercise of due diligence.

8               d.      The Government does not object to the continuance.

9               e.      Based on the above-stated findings, the ends of justice

10                      served by granting the requested continuance outweigh the

11                      best interests of the public and the defendants in a speedy

12                      trial within the original date prescribed by the Speedy

13                      Trial Act.

14              f.      For the purpose of computing time under the Speedy Trial

15                      Act, 18 United States Code Section 3161(h)(7)(A) within

16                      which trial must commence, the time period of August 6,

17                      2019, to September 24, 2019, inclusive, is deemed

18                      excludable pursuant to 18 United States Code Section

19                      3161(h)(7)(A) and (B)(ii) and (iv), corresponding to Local

20                      Code T-4 because it results from a continuance granted by

21                      the Court at the defendants’ request on the basis of the

22                      Court’s finding that the ends of justice served by taking

23                      such action outweigh the best interest of the public and

24                      the defendants in a speedy trial.

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26         4.   Nothing in this stipulation and order shall preclude a finding that

27   other provisions of the Speedy Trial Act dictate that additional time periods

28   are excludable from the period within which a trial must commence.



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1          IT IS SO STIPULATED.

2
     Dated:   July 31, 2019                       /s/ John R. Manning
3                                                 JOHN R. MANNING
                                                  Attorney for Defendant
4                                                 Elton Padilla

5    Dated:   July 31, 2019                       /s/ Philip Cozens
                                                  PHILIP COZENS
6                                                 Attorney for Defendant
                                                  Manuel Reyes
7

8
     Dated: July 31, 2019                         McGregor W. Scott
9                                                 United States Attorney

10                                                /s/ Vincenza Rabenn
                                                  Vincenza Rabenn
11                                                Assistant United States Attorney

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13
                                          ORDER
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15       The Court, having received, read, and considered the stipulation of the

16   parties, and good cause appearing therefrom, adopts the stipulation of the

17   parties in its entirety as its order.

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19   Dated: July 31, 2019                    /s/ John A. Mendez
                                             HONORABLE JOHN A. MENDEZ
20                                           United States District Court Judge

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